        Case 6:24-cv-06153-FPG Document 69 Filed 06/14/24 Page 1 of 3




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________

FIVE STAR BANK,
                                Plaintiff,
      -vs-

KATHERINE MOTT-FORMICOLA,                                        No. 24-cv-6153-FPG
ROBERT HARRIS, KRM EVENTS LLC,
KATHERINE’S ON MONROE LLC, THE
DIVINITY ESTATE AND CHAPEL LLC,
KNC ELEGANCE LLC d/b/a THE
WINTERGARDEN BY MONROES,
11 WEXFORD GLEN LLC, RCC MONROES
LLC, NAF REMODELING, LLC, MONROES
AT RIDGEMONT LLC, CRESCENT BEACH
AT THE LAKE LLC, MOTT MANAGEMENT
LLC, KRISTINA BOURNE, TAYLOR
PAGANO, TIMOTHY LAROCCA,

                             Defendants.
_______________________________________

                             NOTICE OF MOTION

MOTION BY:                                Rothenberg Law
                                          Attorneys for Defendant Mott-Formicola
                                          and all Entity Defendants

DATE, TIME & PLACE:                      A Motion Term of this Court to be held on a
                                         date, time, and place to be set by the Court in
                                         the United States Courthouse, 100 State Street,
                                         Rochester, NY 14614.

SUPPORTING PAPERS:                        Declaration of David Rothenberg, Esq., dated
                                          June 14, 2024, plaintiff’s amended complaint
                                          (ECF No. 51), and all prior pleadings and
                                          proceedings had herein.

RELIEF REQUESTED:                         An order as follows:

                                         A) Dismissing plaintiff’s second and eighth
                                            claims pursuant to Rule 12(b)(6) of the
                                            Federal Rules of Civil Procedure, for failure
                                            to state a claim;
        Case 6:24-cv-06153-FPG Document 69 Filed 06/14/24 Page 2 of 3




                                       B) Dismissing plaintiff’s first, third, fourth,
                                          fifth, sixth, and seventh causes of action,
                                          pursuant to Rule 12(b)(1) of the Federal
                                          Rules of Civil Procedure for lack of subject
                                          matter jurisdiction; and

                                       C) Granting defendants such other and further
                                          relief as to the Court seems just, proper, and
                                          equitable.

ORAL ARGUMENT
IS REQUESTED.


Dated: June 14, 2024
       Rochester, NY
                                        s/ David Rothenberg
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                                       Michael Rothenberg, Esq.
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                                         Formicola and all Entity Defendants
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                                      -2-
  Case 6:24-cv-06153-FPG Document 69 Filed 06/14/24 Page 3 of 3




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                                       -3-
